18-13359-shl   Doc 416-1   Filed 01/16/19 Entered 01/16/19 15:09:03   Exhibit A
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            UNITED STATES BANKRUPTCY COURT

            DISTRICT OF DELAWARE

            Case No. 08-12229 (MFW)

            - - - - - - - - - - - - - - - - - - - - -x

            In the Matter of:



            WASHINGTON MUTUAL, INC., et al.,



                            Debtors.



            - - - - - - - - - - - - - - - - - - - - -x



                            United States Bankruptcy Court

                            824 North Market Street

                            Wilmington, Delaware



                            May 5, 2010

                            10:30 AM



            B E F O R E:

            HON. MARY F. WALRATH

            U.S. BANKRUPTCY JUDGE



            ECR OPERATOR:      BRANDON MCCARTHY

                               VERITEXT REPORTING COMPANY
        212-267-6868                                                        516-608-2400
18-13359-shl
       Case 08-12229-MFW
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                                                                                     97
     1      the other day.    And it could certainly lead to strategic

     2      filings of motions for appointment of trustees just to defeat a

     3      motion for appointment of an examiner.        So that is of no moment

     4      to my ruling on this motion.

     5                  As I have recently ruled orally, so you can't really

     6      rely on it, but I will follow myself.       I do believe that

     7      1104(c)(2) gives the Court some discretion, even if the debt

     8      level is reached, and the discretion is that the Court has the

     9      discretion to determine what appropriate investigation of the

    10      debtor should occur and that, if the Court determines that

    11      there's no appropriate investigation that needs to be

    12      conducted, the Court has the discretion to deny the appointment

    13      of an examiner.

    14                  The Courts have looked at various factors in

    15      determining whether an appropriate investigation is warranted.

    16      They include whether that investigation, that same

    17      investigation, has already been conducted by other parties.

    18      They have looked at whether the appointment of an examiner will

    19      increase costs and cause a delay with no corresponding benefit.

    20      Of course I've looked at the timing of the motion.         I've looked

    21      at whether the motion is a litigation tactic, which includes

    22      the consideration of the timing, not just how soon it is in a

    23      case but whether it is timed such as to evidence a litigation

    24      tactic.

    25                  I think in this case it's a very close call.       I don't

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